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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

v. CASE NO. %'\®- cr - HA\-T-OZAAG,

RICHARD MORMAN

PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, the
defendant, Richard Morman, and the attorney for the defendant,

a9 ARIMA , mutually agree as follows:

A. Particularized Terms

1. Count Pleading To

The defendant shall enter a plea of guilty to Count Three of the
Indictment. Count Three charges the defendant with unlawful possession of
destructive devices—specifically, pipe bombs—in violation of 26 U.S.C.
§§ 5841, 5861(f), and 5871.
2 Maximum Penalties
Count Three carries a maximum sentence of 10 years’
imprisonment, a fine of up to $250,000, a term of up to 3 years’ supervised

release, and a special assessment of $100.

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3. Elements of the Offense

The defendant acknowledges understanding the nature and
elements of the offense with which the defendant has been charged and to
which the defendant is pleading guilty.

The elements of Count Three are:
First: The Defendant manufactured a firearm;

Second: The firearm was not registered to the Defendant in the
National Firearms Registration and Transfer Record; and

Third: The Defendant knew of the specific characteristics or
features of the firearm that made it subject to registration
under the National Firearms Registration and Transfer
Record.

4. Counts Dismissed.

At the time of sentencing, the remaining counts against the
defendant, Counts One and Two, will be dismissed pursuant to Fed. R. Crim.
P. 11(c)(1)(A).

a No Further Charges

If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the

United States Attorney's Office at the time of the execution of this agreement,

related to the conduct giving rise to this plea agreement.

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6. Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
7. Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose the defendant’s request to the Court that the
defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG §3E1.1(a). The defendant understands that
this recommendation or request is not binding on the Court, and if not
accepted by the Court, the defendant will not be allowed to withdraw from the

plea.

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Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

8. Cooperation - Substantial Assistance to be Considered

 

Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production

of any and all books, papers, documents, and other objects in defendant's

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possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that

determination, whether by appeal, collateral attack, or otherwise.

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y. Use of Information - Section 1B1.8

Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).

10. Cooperation - Responsibilities of Parties

a. The government will make known to the Court and other
relevant authorities the nature and extent of the defendant's cooperation and
any other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and

unreservedly disclose and provide full, complete, truthful, and honest

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knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,

prosecution by indictment and consents that the United States may proceed by

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information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) |The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire

plea agreement null and void.

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11. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to pursuant to 26 U.S.C. § 5872, 28 U.S.C. § 2461(c) and
49 U.S.C. § 80303, whether in the possession or control of the United States,
the defendant or defendant's nominees.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative
forfeiture action. The defendant also hereby agrees to waive all constitutional,
statutory and procedural challenges in any manner (including direct appeal,
habeas corpus, or any other means) to any forfeiture carried out in accordance
with this Plea Agreement on any grounds, including that the forfeiture
described herein constitutes an excessive fine, was not properly noticed in the
charging instrument, addressed by the Court at the time of the guilty plea,
announced at sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in
the Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government. Pursuant to the
provisions of Rule 32.2(b)(1)(A), the United States and the defendant request

that promptly after accepting this Plea Agreement, the Court make a

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determination that the government has established the requisite nexus between
the property subject to forfeiture and the offense(s) to which defendant is
pleading guilty and enter a preliminary order of forfeiture. Pursuant to Rule
32.2(b)(A), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time
it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant’s sentencing. The defendant agrees
to be interviewed by the government, prior to and after sentencing, regarding
such assets and their connection to criminal conduct. The defendant further
agrees to be polygraphed on the issue of assets, if it is deemed necessary by the
United States. The defendant agrees that Federal Rule of Criminal Procedure
11 and USSG 81B1.8 will not protect fieson floetnore assets disclosed by the
defendant as part of his cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the

defendant’s sentencing. In addition to providing full and complete

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information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

The defendant agrees that the United States is not limited to
forfeiture of the property specifically identified for forfeiture in this Plea
Agreement. Ifthe United States determines that property of the defendant
identified for forfeiture cannot be located upon the exercise of due diligence;
has been transferred or sold to, or deposited with, a third party; has been
placed beyond the jurisdiction of the Court; has been substantially diminished
in value; or has been commingled with other property which cannot be
divided without difficulty; then the United States shall, at its option, be
entitled to forfeiture of any other property (substitute assets) of the defendant
up to the value of any property described above. The Court shall retain
jurisdiction to settle any disputes arising from application of this clause. The
defendant agrees that forfeiture of substitute assets as authorized herein shall
not be deemed an alteration of the defendant's sentence.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty

the Court may impose upon the defendant in addition to forfeiture.

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The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such _
counts are dismissed pursuant to this agreement. The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (18 U.S.C. § 3003(b)(2)),

including, but not limited to, garnishment and execution, pursuant to the

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Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing. The defendant understands that
this agreement imposes no limitation as to fine.

en Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

a Sentencing Information

The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, end conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to

- comments made by the defendant or defendant's counsel, and to correct any

misstatements or inaccuracies. The United States further reserves its right to

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make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
4. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(i1), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or
over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information

concerning the defendant, for the purpose of making any recommendations to

 

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the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
Ds Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly

reserves the right to support and defend any decision that the Court may make

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with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.
6. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).

7. Middle District of Florida Agreement

It is further understood that this agreement is limited to the

Office of the United States Attorney for the Middle District of Florida and

cannot bind other federal, state, or local prosecuting authorities, although this

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office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
8. Filing of Agreement

This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

9. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the

right to be tried by a jury with the assistance of counsel, the right to confront

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and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
10. Factual Basis

The defendant is pleading guilty because defendant is in fact
guilty. The defendant certifies that defendant does hereby admit that the facts
set forth below are true, and were this case to go to trial, the United States
would be able to prove those specific facts and others beyond a reasonable

_ doubt.

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FACTS

On December 19, 2017, the defendant came to the residence of a
confidential informant (CJ), located in the Middle District of Florida, where
the CI and an undercover law enforcement officer (UC) had arranged to meet
him. The defendant removed a .38 caliber revolver from a holster at his waist,
and a 12-guage shotgun from his gym bag, and sold them, along with 97
rounds of ammunition, to the UC for $550. During the transaction, the
defendant said he could obtain a .380-caliber firearm to sell the UC and said
he could also make pipe bombs as big as the UC wanted.

| On January 31, 2018, the UC and CI drove to a residence in

Hudson, Florida, where they met the defendant to purchase a pipe bomb. The
defendant sold them a device, which he claimed to have made, for $200.
During the transaction, the defendant discussed the UC’s desire to blow up a
vehicle and said he could make bigger bombs for the UC in the future.

On February 14, 2018, the defendant again met the uC and CI at
a residence in in Hudson, Florida. The defendant invited them in to the house,
where he took two pipe bombs from a black case. The defendant discussed
packing the bombs and showed the UC and CI how to light and time the
fuses. The UC paid the defendant $150 with an additional payment to be

discussed if the bombs worked. On March 15, 2018, the UC and CI met again

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with the defendant again, to pay an additional $150 for the bombs purchased
on February 14, 2018.

An explosives expert with the Bureau of Alcohol, Tobacco,
Firearms, and Explosives determined that the pipe bombs were explosive
bombs which qualified as destructive devices as defined in 26 U.S.C. 5845(f).

Jason F. Bowers, keeper of the NFA registry certified that
Morman was not registered to acquire, manufacture, import, make, or have
transferred to him the destructive devices.

The above is merely a brief summary of the events, some of the
persons involved, and other information relating to this case. It does not
include, nor is it intended to include, all of the events, persons involved, or
other information relating to this case.

11. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been

made to the defendant or defendant's attorney with regard to such guilty plea.

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12. Certification
The defendant and defendant's counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms.

 

 

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DATED this 5 day of _ Adu , 2018.
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MARIA CHAPA LOPEZ

United States Attorney
LiLp Li (eldttdveh
RICHARD MORMAN NATALIE HIRT ADAMS
Defendant Assistant United States Attorney

Kul Me. Sonning (phish. Bann

; CHRISTOPHER F. MURRA
Attorney for Defendant ‘ Assistant United States igen
Chief, Violent Crime and Narcotics

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